Michael A. Brain
LA W OFFICES OF ROYCE & BRAIN
1407 West Thirty-First Street, 7th Floor
Anchorage, Alaska 99503-3678
Telephone: (907) 258-6792
Facsimile: (907) 276-2919

Attorneys for Plaintiff, Door Tech, LLC

                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA


 UNITED STATES, for the use and benefit
 of DOOR TECH, LLC,

           Plaintiff,

 vs.

 TRAVELERS CASUALTY AND
 SURETY COMPANY OF AMERICA
 PAYMENT BOND NO. 105249070,
                                                 Case No. 3:11-cv-00242-TMB
           Defendant.

                              ORDER OF DISMISSAL WITH PREJUDICE

              Pursuant to Fed. R. Civ. P. 41(a), Use Plaintiff, DoorTech, LLC and Defendant,

Travelers Casualty and Surety Company of America, by and through their respective counsel,

have stipulated and agreed that this action shall be dismissed with prejudice, with each party to

bear its own costs and attorney's fees.

              IT IS SO ORDERED.

 DATED: March 12,.2012                      s/TIMOTHY M. BURGESS
                                           Honorable Timothy M. Burgess
                                           U.S. District Court Judge



       Case 3:11-cv-00242-TMB Document 10 Filed 03/12/12 Page 1 of 1
